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UNITED SrArEs DlsTRICT COURT

f`or the
Ccntral District of Calil"ornia

 

ln the Marter of the Search of
('Briej?y describe the property ro be searched
ar ident:jl the person by name and address
1710 N. FULLER AVE. APARTMENT 325.
AND PARK!NG SPACES 335 AND 337.
LOS ANGELES, CAL!FORN|A

Case No. 2:18-MJ»00963

v\-..¢\_/\_r\_/~._/

SEARCH AND SEIZURE WARRANT

To; Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

of the following person or property located in the Central District of Califomia
fid¢ntr]j! the person or describe the property 10 be searched and give its tocation)t
See Attachment A

Thc person or property to be searched, described above, is believed to conceal ridean she person or describe rh¢
property !a be szi:€d}!
Sae Attachrnent B

l find that the af"fidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
‘ propertyl Such aflidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before __14 days from the date of its issuance
(no£ ta exceed 14 days)
d in the daytime 6:UO a.m, to 10 p.m. D at any time in the clay or night as l find reasonable cause has been
established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was takcn.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate .ludge
on duty at the time of the return through a nling with the C|ork's O?Hce,
(narne)

C| I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of tn'al), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized robert rhe appropriate ban El for days mac ra exceed 30;.

L"_| until4 the factsjustifying, specific date of _ .

J'udge 's signature

Date and time issued;§ "2,0¢!‘1 1 Qf¢/’/AZF-Y/j _,MA_LWM-_~\
' / / /»/

City and state: Los Ange|es` Ca|‘rfomia _“ Honorabte Karen L. Stevonson‘ Magi§t_r§t_eJt..§ge
Prinred name and title

AUSA: Andmw Bmwn, 1‘lth Floor, x0102

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R¢turn
Cme No. : Dat¢ an_d time wammt executed Copy ofwarmm and inventory left wt'th:
zzts-MJ-oossa 4/2»‘-1_|20\§’ id w )\M H W\DE‘NC€

 

Inwn!orymadet'nthepres¢ttceof: @`, MM H%‘€L

Invevttary ofthe property taken and name ofcmy person(s) seized:

mateth a dewip(\tm tim wou'ldbe suffic`tmt wdcmonmle that me'ttum: se'md bn within thc'll.ems authorized mbe
seizndpmmm¢ lo the wm (¢.g., typeofdocmnenta,as opposed to“misae|lamoos documentx")nwell us lhe approximate
volume oflqy documtmla seized (e.g., number of boxcs}. them is mode to an wished dmption ofpmpeny, speed the
numberewa the attachment md any casenmnber nppe¢ringtheteon_]

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MMI_I (by officer present during lite execution of\he witnml

1 declare under penalty afperjwy that 1 am art o_#:`cer who executed this warrant and that this inventory t`s correct and
was renamed along with the original wmata to the designated judge through a filing with the Clerk's Oj'ice.

par¢.- gmng 66 W

Exe¢lm'ng oflcer 's signature

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Prl'nted m mtd tide

 

 

 

AUSA'. Andrew Bmwn, 11th Floor, )c0102

